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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CRIMINAL CASE NO.: 9:22-mj-08332-BER-1

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  SEALED SEARCH WARRANT,

        Defendant.
  _________________________________/

                         MOVANT JUDICIAL WATCH, INC.’S REPLY
                         IN SUPPORT OF ITS MOTION TO UNSEAL

         Movant Judicial Watch, Inc., by counsel, respectfully submits this reply in support of its

  motion to unseal the search warrant materials in this case [ECF No. 4].1

         1.      There is no dispute that the Court “must balance the presumptive right of access

  against important competing interests and then weigh[] the Government’s asserted reasons for

  continued sealing against Petitioner’s interest in access.” Bennett v. United States, 2013 U.S. Dist.

  LEXIS 102771, *21 (S.D. Fla. July 23, 2013) (citing In re Four Search Warrants, 945 F. Supp.

  1563, 1567-1568 (N.D. Ga. 1996).

         2.      The government’s opposition is devoid of any balancing of the interests at stake

  even though, in its motion to unseal the warrant and the inventory list, the government recognized

  that “[t]his matter plainly concerns public officials or public concerns as it involves a law



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         Judicial Watch notes that while, multiple media entities included motions to intervene with
  their motions to unseal, it filed only a motion to unseal. Judicial Watch did so to avoid burdening
  the Court with additional paperwork. Judicial Watch is prepared to file a separate motion to
  intervene if the Court determines one is necessary. In addition, for the avoidance of doubt, Movant
  respectfully requests to be heard at the hearing scheduled for August 18, 2022 at 1:00 p.m. and
  expects its argument would be no longer than five minutes.
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  enforcement action taken at the property of the 45th President of the United States. The public’s

  clear and powerful interest in understanding what occurred under these circumstances weighs

  heavily in favor of unsealing.” Gov’t Motion (ECF No. 4 at 4) (internal quotation marks and

  citation omitted). The government’s argument for keeping the search warrant affidavit under

  wraps is little more than the assertion that the affidavit should remain sealed because of what the

  government says is important. Movant does not dispute the importance of preserving the integrity

  of criminal investigations and protecting the country’s national security interests. However, the

  public may be forgiven for not taking the government at its word as to what information would

  jeopardize such interests. Indeed, that is precisely why the Constitution inveighs this Court with

  the heavy responsibility of balancing the government’s and the public’s competing interests in

  disclosure.

         3.      The Court must give searching review to the government’s claimed reasons for

  keeping the affidavit under seal. Baltimore Sun Company v. Goetz, 886 F.2d 60, 65 (4th Cir. 1989)

  (“[T]he decision to seal the papers must be made by the judicial officer; he cannot abdicate this

  function.”). And while the government asserts that movants’ case law is “readily distinguishable,”

  the government identifies no analogous case law concerning the execution of a search warrant at

  the home of a sitting president’s immediate predecessor and election opponent and potential future

  election opponent. It is the government’s case law that is readily distinguishable.

         4.      The public interest in the contents of the affidavit cannot be understated. The

  secrecy surrounding the search warrant, and the affidavit that led to its issuance, has caused the

  nation to convulse with intrigue and harmful speculation that will only increase the longer the truth

  is kept from the public. The heat must be replaced with light, and soon. Maintaining the seal will

  only fuel more speculation, uncertainty, leaks, and political intrigue and it will also serve to




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  undermine public confidence in the fair administration of justice and equal protection of the law.

  Considering the gravity of this unprecedented action by the government, at a minimum, the Court

  should review the affidavit line-by-line to determine what information may be disclosed and what

  information may be redacted to balance the competing concerns at issue.

            5.      The unsealing of the warrant and inventory list has not satisfied the public interest.

  If anything, disclosure of the inventory of records seized during the search has only further

  inflamed public debate about the search and increased public interest in the disclosure of as much

  of the affidavit as possible.

            6.      Relatedly, and as has been widely reported, President Trump has also called for the

  immediate release of the completely unredacted search warrant affidavit.2

            Dated: August 17, 2022.                 Respectfully Submitted,

                                                    MELAND BUDWICK, P.A.
                                                    3200 Southeast Financial Center
                                                    200 South Biscayne Boulevard
                                                    Miami, Florida 33131
                                                    Telephone: (305) 358-6363
                                                    Facsimile: (305) 358-1221

                                                    /s/ James C. Moon
                                                    Michael S. Budwick, Esquire
                                                    Florida Bar No. 938777
                                                    mbudwick@melandbudwick.com
                                                    James C. Moon, Esquire
                                                    Florida Bar No. 938211
                                                    jmoon@melandbudwick.com

                                                    /s/ Paul J. Orfanedes
                                                    Paul J. Orfanedes, Esquire
                                                    (Admitted Pro Hac Vice)
                                                    porfanedes@judicialwatch.org




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      https://truthsocial.com/@realDonaldTrump/108830529259405266




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                                     /s/ Michael Bekesha
                                     Michael Bekesha, Esquire
                                     (Admitted Pro Hac Vice)
                                     mbekesha@judicialwatch.org
                                     JUDICIAL WATCH, INC.
                                     425 Third Street, S.W., Suite 800
                                     Washington, DC 20024
                                     Telephone: (202) 646-5172
                                     Facsimile: (202) 646-5199

                                     Counsel for Movant Judicial Watch, Inc.




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